                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:10-00065
                                           )        JUDGE CAMPBELL
VICTOR L. OWENS                            )


                                           ORDER


      The sentencing hearing currently scheduled for July 22, 2013, at 2:30 p.m. is

RESCHEDULED for July 22, 2013, at 4:00 p.m.

      IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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